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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Baltimore Division

IN RE:                                              CaseNumber: 14-10491

         Chapter 13 Administration                  Debtor(s): JOHN C ESENWA



                   LINE DEPOSITING FUNDS INTO COURT REGISTRY

To the Clerk of the Court:

         Please be advised that pursuant to 11 U.S.C. Section 347 and Federal Bankruptcy Rule

3011, the Trustee is paying the amount of $4,234.35 to “Clerk, U.S.Bankruptcy Court” that

represents unclaimed funds in the above Chapter 13 case. Creditors and/or debtors are listed at

their last known address, and are entitled to the itemized payments; however, the creditors have

returned disbursement payments to the Trustee.



Dated: 08/25/2019                                   Respectfully submitted.

                                                    /s/NANCY L. SPENCER GRIGSBY
                                                    Chapter 13 Trustee
                                                    185 ADMIRAL COCHRANE DR.
                                                    SUITE 240
                                                    ANNAPOLIS, MD 21401
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                       PAYEE                           CLAIM #     AMOUNT
JOHN C ESENWA                                             0          $4,234.35
6074 SHEPHERD SQUARE
COLUMBIA, MD, 21044


                                               Total                  $4,234.35
